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                            UNITED STATES DISTRICT COURT

                        MIDDLE DISTRICT COURT OF LOUISIANA

ABBY OWENS, ET AL                              *      CIVIL ACTION NO:
                                               *      3:21-CV-00242-WBV-SDJ
                                               *
VERSUS                                         *      JUDGE: THE HONORABLE WENDY
                                               *      VITTER
LOUISIANA STATE                                *
UNIVERSITY, ET AL                              *      MAGISTRATE: THE HONORABLE
                                               *      SCOTT D. JOHNSON
                                               *


 MOTION FOR ENTRY OF PROPOSED PROTECTIVE ORDER FOR DEPOSITIONS
  OF JULIA SELL AND MICHAEL SELL AND FOR PRODUCTION OF SPECIFIC
         DEPOSITION TRANSCRIPTS AND DISCOVERY MATERIALS

         NOW INTO COURT, through undersigned counsel, come former defendants and current

non-parties, Julia Sell and Michael Sell (the “Sells”), who respectfully request a Protective Order

to govern their depositions sought by Plaintiffs in this litigation and the obligations of all parties

upon the conclusion of the depositions and this litigation. The Sells aver that they have consulted

with counsel for Plaintiffs and all Defendants regarding the requests contained within the instant

Motion. Defendants have not objected to any of the request made by the Sells. Counsel for

Plaintiffs have agreed to some, but not all of the Sells’ requests contained in the proposed

Protective Order.

         The Sells further request the production of specific deposition transcripts, exhibits and

other materials produced in discovery to enable them to prepare for their depositions as part of the

Protective Order and respectfully assert that Plaintiffs’ cannot meet their burden to show good

cause to withhold production of those materials.




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                                            Respectfully Submitted:


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